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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                      CENTRAL DIVISION
                                         LEXINGTON

                                   ELECTRONICALLY FILED

 PRIME FINISH, LLC,                              )
                                                 )
        Plaintiff,                               )
                                                 )
 and                                             )
                                                 )         No. 5:08-CV-438-GFVT-REW
 CAMEO, LLC,                                     )
                                                 )
        Intervenor Plaintiff,
                                                 )
 v.                                              )
                                                 )
 ITW DELTAR IPAC,                                )
                                                 )
        Defendant.                               )

       MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION FOR PARTIAL
       SUMMARY JUDGMENT ON CALCULATION OF LIQUIDATED DAMAGES


        Cameo, LLC (“Cameo”) has sued ITW Deltar IPAC (“ITW”) for damages based on

 ITW’s early termination of a May 26, 2005 Product Supply Agreement (“Supply Agreement”)

 between ITW and Prime Finish, LLC (“Prime”). Pursuant to that contract, Prime agreed to paint

 and decorate interior automotive parts provided by ITW. The agreement had a four-year term

 that began after the “start of production” under the contract. If ITW terminated the Supply

 Agreement early for any reason—except for Prime’s violation of certain quality or delivery

 standards (“Quality Standards”)—ITW was obligated to pay early termination liquidated

 damages. The amount of damages varied depending on when the agreement was terminated. As

 is relevant here, if ITW terminated the contract in month 37, the liquidated damages were

 $125,000.

        The Supply Agreement is unambiguous, and as a matter of law, the “start of production”

 that triggered the agreement’s four-year term was the beginning of any work under the contract.
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 It is undisputed that Prime started this work in July 2005, and that, 37 months later, on August 1,

 2008, ITW terminated the agreement early. In these circumstances, the plain and ordinary

 meaning of the Supply Agreement demonstrates that the “start of production” was July 2005 and

 any early termination liquidated damages are limited to $125,000. Because contract

 interpretation is a matter of law, the Court should grant summary judgment for ITW on this

 ground.

                            STATEMENT OF UNDISPUTED FACTS

        A.      Prime and Cameo Enter into a Production Service Agreement

        On May 25, 2005, Cameo and Prime entered into a Production Service Agreement.

 (Production Service Agreement, May 25, 2005, attached as Exhibit 1.) Pursuant to the

 agreement, Cameo agreed to fund a paint line at Prime’s business. In return, Prime agreed to pay

 Cameo royalties for the parts painted. (Id. at 1.)

        B.      Prime and ITW Enter into the Supply Agreement

        On May 26, 2005, ITW and Prime entered into the Supply Agreement, pursuant to which

 Prime agreed to paint and decorate interior automotive parts provided by ITW. (Supply

 Agreement, May 26, 2005, attached as Exhibit 2.) Under the contract, Prime’s work would

 encompass four separate vehicle programs: (1) the “Camry 044L” program; (2) the “Tundra &

 Sequoia 180L” program; (3) the “Nissan L42A” program; and (4) the “Honda Pilot” program.

 (Id. at 1.) Prime had “current capacity to partially meet” ITW’s requirements for painting and

 decorative work under these programs, but would add an additional paint line to increase its

 overall capacity in order to “fully meet [ITW’s] requirements.” (Id.) This additional paint line

 was funded by Cameo. (Ex. 1, at 1.)

        The Supply Agreement’s term was defined as follows: “This Agreement shall be for a

 term of four (4) years . . . and shall continue for forty-eight months (48) following the start of


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 production . . . .” (Ex. 2, at 1 (emphasis added).) The Supply Agreement also provided that, if

 ITW terminated the contract early for any reason—except for Prime’s failure to meet the Quality

 Standards under Section 3.4—ITW was obligated to pay early termination liquidated damages,

 pursuant to a sliding scale. (Id. at 3.) The early termination liquidated damages gradually

 decreased over the life of the Supply Agreement. For instance, the liquidated damages were

 $1,000,000 if ITW terminated in the first six months, $500,000 if ITW terminated during months

 19-24, $375,000 if ITW terminated during months 25-30, and $125,000 if ITW terminated

 during months 37-42. (Id.)

        “Cameo drafted . . . the terms and conditions set forth in” the Supply Agreement between

 Prime and ITW. (Ex. 1, at 2.)

        C.      Prime Performs Work on the Honda Pilot and Camry 044L Programs

        Prime began painting automotive parts for ITW under the Honda Pilot program in July

 2005. (Pl.’s Discovery Resps., Aug. 1, 2016, attached as Exhibit 3, at 1 (“Cameo admits that the

 painting of Honda parts by Prime Finish began no later than July 2005.”); Email, Jan. 2, 2008,

 attached as Exhibit 4 (stating that ITW “received our first production shipment of Honda Pilot

 parts from Prime Finish” on July 26, 2005).)

        In January 2006, Prime began painting parts for ITW under the Camry 044L program.

 (Ex. 3, at 2 (“Cameo admits that the painting of Toyota Camry parts for ITW by Prime Finish

 began no later than January 2006.”).)

        D.      ITW Terminates the Supply Agreement

        On August 1, 2008, citing Prime’s insolvency and failure to comply with the Quality

 Standards, ITW terminated the Supply Agreement. (Notice of Termination of Product Supply

 Agreement, Aug. 1, 2008, attached as Exhibit 5.)




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         E.     This Lawsuit

         On September 20, 2008, Prime brought suit against ITW alleging, among other things,

 breach of the Supply Agreement. On February 23, 2009, Cameo filed an Intervening Complaint

 against Prime and ITW, seeking only early termination liquidated damages in the amount of

 $375,000.

         On May 26, 2010, Prime and ITW entered into a mutual settlement and release

 agreement, pursuant to which both parties released any and all claims related to the instant

 litigation. (Mutual Settlement and Release, May 26, 2010, attached as Exhibit 6.) In exchange,

 ITW paid Prime $50,000. (Id. at 1.) The Court dismissed Prime’s Complaint against ITW a few

 days later.

         On April 28, 2016, eight years after first filing suit, Cameo filed a First Amended

 Complaint, seeking other damages for breach of contract in addition to liquidated damages.

 Cameo filed a Second Amended Complaint on June 8, 2016, increasing its liquidated damages

 request from $375,000 to $500,000. Cameo justifies this damage demand based on the theory

 that the “start of production” under the Supply Agreement was September 2006, such that ITW’s

 termination of that agreement on August 1, 2008 occurred less than twenty-four months into the

 agreement’s four-year term, thereby triggering the $500,000 early termination liquidated

 damages. (Ex. 3, at 6 (“[T]he start of production for purposes of the Product Supply Agreement

 [occurred when parts] . . . for the Nissan L42A program [were] painted during September

 2006.”); see also id. at 9 (“ITW breached the Product Supply Agreement on August 1st, 2008,

 less than 24 months after the . . . Prime Finish paint-line had commenced production parts for

 ITW programs.”).) Cameo selects September 2006 as the operative date because it contends the

 “start of production” under the Supply Agreement only includes work that Prime performed on

 ITW’s automotive parts using the new paint line that Cameo installed at Prime’s headquarters.


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 (Id. at 1-2 (denying that Prime’s painting of parts under the Honda Pilot and Camry programs, in

 July 2005 and January 2006, respectively, “was pursuant to the Product Supply Agreement,”

 because neither was painted on the paint line that Cameo installed); see also id. at 2-3 (objecting

 to request for admission to the extent it is “intended to define the start of production” as July

 2005).)

                                        LEGAL STANDARD

           Summary judgment is appropriately granted where there is “no genuine dispute as to any

 material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “It

 is well settled that the interpretation of contracts is an issue of law for the court to decide.”

 Equitania Ins. Co. v. Slone & Garrett, P.S.C., 191 S.W.3d 552, 556 (Ky. 2006). Thus, it is

 appropriate for the court to determine issues of contract interpretation on summary judgment. Id.

 at 557 (“The [trial court’s grant of] partial summary judgment was appropriate because the

 interpretation of the contract was a matter of law.”); Grass v. Akins, 368 S.W.3d 150, 153 (Ky.

 Ct. App. 2012) (in affirming grant of summary judgment, noting that “the construction and

 interpretation of contracts are questions of law to be decided by the trial court”).

                                             ARGUMENT

 I.        THE “START OF PRODUCTION” MEANS, AS A MATTER OF LAW, THE
           BEGINNING OF PRIME’S WORK UNDER THE SUPPLY AGREEMENT

           The Supply Agreement’s four-year term runs from the “start of production.” The question

 presented here is whether that term refers to the start of any production, or whether the term

 means, as Cameo argues, the start of production only on the new paint line. Under well-

 established principles of contract interpretation, the Court should hold that the term “start of

 production” means what it says, and refers to the start of any work under the Supply Agreement.




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         A.     The Supply Agreement Means What It Says

         The Supply Agreement—a contract drafted by Cameo, and negotiated by sophisticated

 business entities through an arm’s length negotiation process—means what it unambiguously

 says.

         First, it is well-established that Kentucky courts “interpret the terms of [a] contract

 according to their plain and ordinary meaning.” Larkins v. Miller, 239 S.W.3d 112, 115 (Ky. Ct.

 App. 2007); see also K.M.R. v. Foremost Ins. Grp., 171 S.W.3d 751, 753 (Ky. Ct. App. 2005)

 (same); Journey Acquisition–II, L.P. v. EQT Prod. Co., 830 F.3d 444, 452 (6th Cir. 2016)

 (same). In the context of a contract under which Prime agreed to paint and decorate automotive

 parts provided by ITW, the plain and ordinary meaning of the unambiguous phrase “the start of

 production” is the beginning of Prime’s work for ITW under the agreement. This interpretation

 comports with the dictionary definitions of the applicable terms. “Start” is defined, in relevant

 part, as “to begin an activity or undertaking;” “production,” in turn, is “the act or process of

 producing.” Webster’s Third New International Dictionary (2002). It also reflects the parties’

 chosen language in the Supply Agreement, as no term precedes or limits the word “production,”

 demonstrating that any work by Prime would commence the agreement’s four-year term.

 Further, because there was no predecessor contract between Prime and ITW for painting and

 decorating automotive parts, any work that Prime performed was, necessarily and logically, work

 under the Supply Agreement constituting the “start of production.”

         Second, ITW’s interpretation of the Supply Agreement is consistent with a holistic

 reading of the contract. The agreement states that Prime had “current capacity to partially meet

 the requirements of [ITW].” (Ex. 2, at 1. (emphasis added).) It further provides that, “in order to

 fully supply [ITW’s] requirements, [Prime] will be required to add an additional paint line to its

 current facility.” (Id. (emphasis added).) In other words, the Supply Agreement expressly


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 contemplated that Prime would use its existing facilities to partially service ITW’s needs under

 the contract, but would add a new paint line to “fully” meet those requirements. Accordingly,

 interpreting “the start of production” to include any production done by Prime, whether on the

 new paint line or not, reads the agreement’s provisions as a whole. See Journey Acquisition-II,

 L.P. v. EQT Prod. Co., 39 F. Supp. 3d 877, 887 (E.D. Ky. 2014) (“[T]he Court must read the

 various provisions of the contract as a whole.”); L.K. Comstock & Co. v. Becon Const. Co., 932

 F. Supp. 948, 964 (E.D. Ky. 1994) (stating that courts are “obligated to read the parts of the

 contract as a whole”), aff'd, 73 F.3d 362 (6th Cir. 1995).

         Third, ITW’s interpretation gives effect to all provisions of the contract, because it

 construes the Supply Agreement’s scope of work provision concomitantly with its four-year

 term. See Clair v. Hillenmeyer, 232 S.W.3d 544, 549 n.11 (Ky. Ct. App. 2007) (“The general

 rule of interpretation of contracts is that effect must be given to all terms of the contract.”);

 Journey Acquisition-II, L.P., 39 F. Supp. 3d at 887 (“[A]n interpretation of the contract that gives

 a reasonable, lawful, and effective meaning to all the terms is preferred to an interpretation

 which leaves a part unreasonable, unlawful, or of no effect.” (citation omitted)). Here, the Supply

 Agreement states that Prime’s work would encompass four vehicle programs, including the

 Honda Pilot and Camry 044L programs. (Ex. 2, at 1.) It is undisputed that Prime performed work

 on these programs beginning in July 2005 and January 2006, respectively, using its existing

 painting facilities. (See Section C, supra.) Interpreting the “start of production” as including this

 work therefore gives effect to the parties’ inclusion of these vehicle programs in the Supply

 Agreement. It also logically construes the beginning of Prime’s work under the contract as

 commencing the contract’s four-year period.




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           In sum, ITW’s interpretation of the Supply Agreement is based on the plain and ordinary

 meaning of the phrase the “start of production,” it is consistent with a holistic reading of the

 contract, and it comports with fundamental principles of Kentucky law on contract interpretation.

           B.     Cameo’s Interpretation of the Supply Agreement Is Incorrect and
                  Inconsistent with Kentucky Law

           Cameo’s strained construction of the Supply Agreement fails as a matter of law and

 common sense. First, it is unsound. Followed to its logical conclusion, it means that work

 indisputably performed by Prime on the Honda Pilot and Camry 044L programs—programs

 specifically listed in the Supply Agreement—was work performed under the contract, but

 simultaneously not work that triggered the contract’s four-year term. Nothing in the agreement

 shows that the parties intended such a fundamental disconnect between the contract’s scope of

 work provision and contract period. And this Court should not interpret the Supply Agreement in

 a manner that defies common sense and creates an absurd result. See, e.g., Francis v. Armstrong

 Coal Reserves, Inc., No. 4:11-CV-00077-M, 2012 WL 5949466, at *7 (W.D. Ky. Nov. 28, 2012)

 (“Contracts must be construed consistent with common sense and in a manner that avoids absurd

 results.”). Reading the “start of production” as excluding Prime’s work on the Honda Pilot and

 Camry 044L programs also does violence to the Supply Agreement by essentially reading these

 freely negotiated provisions out of the contract. It therefore violates the basic tenet of Kentucky

 contract interpretation that contracts should be read as a whole, giving effect and meaning to

 each provision. See Clair, 232 S.W.3d at 549 n.11; Journey Acquisition-II, L.P., 39 F. Supp. 3d

 at 887.

           Second, by construing the “start of production” to mean the “start of production only on

 the new paint line installed by Prime,” Cameo asks this Court to read additional terms into an

 otherwise unambiguous contract provision. This, it cannot do. “The courts do not write contracts

 for the parties nor do they read into an unambiguous contract words or provisions it does not
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 contain.” Florida Canada Corp. v. Union Carbide & Carbon Corp., 280 F.2d 193, 196 (6th Cir.

 1960); see also Snowden v. City of Wilmore, 412 S.W.3d 195, 208 (Ky. Ct. App. 2013) (stating

 that when the parties’ intentions are “clearly stated in a written document, we have no authority

 to add terms not included by the parties”); Smith v. Crimson Ridge Dev., LLC, 410 S.W.3d 619,

 621 n.2 (Ky. Ct. App. 2013) (“[C]ourts will not remake a contract for the parties.”). In other

 words, Cameo’s interpretation asks this Court to “read[] into the contract a provision that the

 parties did not put there” while simultaneously “ignor[ing] a provision that they did put there.”

 Hardaway Const. Co. v. United States, 852 F.2d 174, 179 (6th Cir. 1988) (refusing to adopt this

 interpretation of the contract).

         Third, if Cameo, as the drafter of the Supply Agreement, had wanted the “start of

 production” to actually mean something quite different, it plainly could have written the contract

 accordingly. See, e.g., Papa John's Int'l, Inc. v. Dynamic Pizza, Inc., 317 F. Supp. 2d 740, 750

 (W.D. Ky. 2004) (“These franchise agreements were negotiated by two sophisticated business

 entities. . . . If one party wanted to add or subtract a term of the contract, . . . it could have done

 so in contract negotiations.”). It did not do so. Cameo’s failure to implement a provision

 reflecting its currently asserted and self-serving interpretation is therefore strong evidence that

 the Supply Agreement does not embody this meaning. See, e.g., Journey Acquisition-II, L.P., 39

 F. Supp. 3d at 896 (noting that the drafting party “could have made its” interpretation of the

 contract “clear from the plain language of the contract, and since it was the party in the best

 position to do so, it should not be able to complain when the contract language is construed

 against it”). Indeed, even if Cameo had intended this result—or, more realistically, now prefers,

 with the benefit of hindsight, that it had intended this result—that is insufficient for this Court to

 interpret the Supply Agreement in contravention of its clear and unambiguous terms. See Gibson

 Co. Real Estate v. Garrett, LLC, No. 2011-CA-000065-MR, 2013 WL 4710325, at *5 (Ky. Ct.

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App. Aug. 30, 2013) (rejecting a party’s interpretation of an unambiguous contract because the

“fact that one party may have intended different results . . . is insufficient to construe a contract

at variance with its plain and unambiguous terms”); Buckley v. Morgan, No. 2007-CA-001313-

MR, 2008 WL 4683029, at *2 (Ky. Ct. App. Oct. 24, 2008) (“Even if one of the contracting

parties may have intended a different result, a contract cannot be interpreted in discordance with

the plain meaning of the terms of the contract.”).

       Fourth, assuming, arguendo, that the “start of production” provision is ambiguous—

which it is not—it is well-established that any ambiguities must be construed against Cameo, the

drafter of the Supply Agreement. “No rule is better established than that, when a contract is

susceptible of two meanings, it will be construed strongest against the party who drafted and

prepared it.” Theatre Realty Co. v. P.H. Meyer Co., 48 S.W.2d 1, 2 (Ky. 1932) (citation omitted);

Lynch v. Claims Mgmt. Corp., 306 S.W.3d 93, 98 (Ky. Ct. App. 2010) (same); L.K. Comstock &

Co., 932 F. Supp. at 968 (same). All of the foregoing reasons would apply with equal force to

demonstrate that, even if the agreement is ambiguous, Cameo’s interpretation is wrong as a

matter of law.

       It is not the Court’s job to rewrite the Supply Agreement contrary to its plain and

ordinary meaning, simply because Cameo now wishes that it wrote the contract a different way.

Duane Mgmt. Co. v. Prudential Ins. Co., 29 F.3d 245, 249 (6th Cir. 1994) (applying Kentucky

law, and stating “[the plaintiff] seeks to have us interpret a different contract than the one the

parties entered and to increase its entitlement on termination. To give such an interpretation to

the contract would be to rewrite it, and this we decline to do.”). The agreement provides that any

work by Prime—whether or not that work occurred using the new paint line—constituted the

“start of production.” “[C]onstruction of a contract is a matter of law,” and therefore, summary




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judgment on this issue is proper. FS Investments, Inc. v. Asset Guar. Ins. Co., 196 F. Supp. 2d

491, 498 (E.D. Ky. 2002).

II.    IN THE EVENT ITW TERMINATED THE SUPPLY AGREEMENT FOR A
       NON-QUALITY STANDARDS REASON, ANY EARLY TERMINATION
       LIQUIDATED DAMAGES ARE LIMITED TO $125,000

       Because the “start of production” means, as a matter of law, the beginning of Prime’s

work under the Supply Agreement, any early termination liquidated damages are limited to

$125,000. The agreement provides that, if ITW terminated the contract early for any reason

except Prime’s violation of the Quality Standards, ITW is obligated to pay early termination

liquidated damages. (Ex. 2, at 3.) The early termination liquidated damages are $125,000 if ITW

terminated the agreement in the 37th month. (Id.)

       Here, it is undisputed that Prime began working on the Honda Pilot program in July

2005. (See Section C, supra.) It is similarly undisputed that, 37 months later, ITW terminated the

Supply Agreement early, on August 1, 2008. (Id.) Accordingly, as a matter of law, if ITW

terminated the agreement for any non-Quality Standards reason, the early termination liquidated

damages are limited to $125,000. See Apex Contracting, Inc. v. City of Paris, No. 2002-CA-

001310-MR, 2004 WL 758276, at *2 (Ky. Ct. App. Apr. 9, 2004) (“Summary judgment is

appropriate when a party’s claim for damages is barred by a contractual provision.”); Options

Home Health of N. Florida, Inc. v. Nurses Registry & Home Health Corp., 946 F. Supp. 2d 664,

674 (E.D. Ky. 2013) (“Where, as here, there is no material fact in dispute, this Court may

determine the parties’ intention, and interpret the contract, as a matter of law.”).

       For all of the foregoing reasons, the Court should hold as a matter of law that any early

termination liquidated damages are limited to $125,000.




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                                        CONCLUSION

       ITW respectfully requests that the Court grant this motion and conclude that Cameo

cannot, as a matter of law, obtain any early termination liquidated damages in excess of

$125,000.

Dated: December 13, 2016                          Respectfully submitted,


                                                  s/ Carolyn J. Fairless
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 13, 2016, the foregoing was filed electronically with

the Clerk of the United States District Court of the Eastern District of Kentucky via the CM/ECF

system, which will send Notice of Electronic filing to:

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